The relief described hereinbelow is SO ORDERED.

SIGNED this 11th day of August, 2023.




 ________________________________________________________________________


                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS

IN RE:                                                 )
                                                       )
CANDICE J ROBINSON                                     )      CASE # 22-21221-7
                                                       )
                       Debtor.                         )

                  ORDER DIRECTING DEBTOR TO APPEAR ALONG
           WITH HER ATTORNEY RYAN M. GRAHAM TO SHOW CAUSE WHY
            THE DEBTOR SHOULD NOT BE HELD IN CONTEMPT OF COURT

         The Trustee has filed the Trustee's Motion For Order Directing Debtor to Appear Along

With Her Attorney Ryan M. Graham to Show Cause Why the Debtor Should Not Be Held In

Contempt for failure to obey the Court's Order of July 19th, 2023. The Trustee, Darcy D.

Williamson appears in person. There are no other appearances. In support of her Motion, the

Trustee alleges and states as follows:

         1. An Order Sustaining Trustee’s Request for Production and Motion to Compel

Compliance was entered of record on July 19th, 2023. In said Order, the Debtor was to remit to

the Trustee, within 30 days of the entry of the Order, the documents previously requested as

follows:




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In the United States Bankruptcy Court for the District of Kansas
In Re: Candice J Robinson
Case No. 22-21221-7
ORDER DIRECTING DEBTOR TO APPEAR ALONG
WITH HER ATTORNEY RYAN M. GRAHAM TO SHOW CAUSE WHY
THE DEBTOR SHOULD NOT BE HELD IN CONTEMPT OF COURT
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                A. Provide copies of her 2022 State and Federal Tax Returns, including all

schedules, W-2s, 1099s, depreciation worksheets and homestead returns, if applicable and

turnover of any refunds.

               B. Provide the registration and verification of insurance on 2019 Honda Accord.

               C. Provide account statements for the Venmo account for the months of

September, 2022 to December, 2022.

               D. Provide any and all loan documents and an itemized list of payments made to

Best Egg from September, 2022 to December, 2022.

       2. Neither the Debtor nor her Attorney have produced the documents which are

necessary for the proper administration of this estate.

       3. After reviewing the court file, hearing the statements of counsel and being otherwise

duly and fully advised in the premises, the Court finds and orders that the Debtor and her

Attorney shall appear before this Court on the 21st day of September, 2023, at 10:30 o'clock

A.M. at the United States Bankruptcy Court, 500 State Avenue, Rm.161, Kansas City, Kansas

66101, to show cause why the Debtor should not be held in contempt.

       4. Debtor's Counsel is also ordered to attempt to contact the Debtor in order to obtain

compliance with the Court's Order, prior to the date and time for the hearing, and all parties are

to appear (Candice J Robinson and Ryan M. Graham) at the stated date and time above.

       FAILURE TO APPEAR AT THIS HEARING MAY RESULT IN THE U.S.

MARSHAL APPREHENDING THE DEBTOR AND DEBTOR’S ATTORNEY FOR

APPEARANCE BEFORE THE COURT.




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In the United States Bankruptcy Court for the District of Kansas
In Re: Candice J Robinson
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       In the event the U.S. Marshal is required to apprehend a party, that party may be required

to pay all fees and expenses associated therewith, and will be responsible for his or her own

transportation following any hearing.

       IT IS SO CONSIDERED, ORDERED, ADJUDGED AND DECREED.

                                              ###



Submitted and Approved:



/s/ Darcy D. Williamson
DARCY D. WILLIAMSON
Attorney # 11337
1109 SW Westside Drive
Topeka, KS 66615
(785) 233-9908




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